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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR139
       vs.                                    )
                                              )                     ORDER
DENNIS E. CAMPBELL,                           )
                                              )
                     Defendant.               )


       This matter is before the court on the defendant’s Motion for Pretrial Release (#40).

The motion is denied without hearing.

       The proposed placement of the defendant with a third-party custodian fails to

adequately address the court’s concerns leading to the August 18, 2005 detention order

(#39), and fails to rebut the presumption of detention under 18 U.S.C. § 3142(e).

Specifically, placement with a third-party custodian would not address the defendant’s

significant criminal record, his past failures to appear, or the fact that the defendant has,

in the past, been arrested for new offenses while on bond. Therefore,

       IT IS ORDERED:

       1. The defendant’s Motion for Pretrial Release (#40) to a third-party custodian is

denied without hearing.

       Dated this 24th day of August 2005.


                                           BY THE COURT:


                                           S/ F.A. Gossett
                                           United States Magistrate Judge
